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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                 Reading Division


 IN RE:
 DEIDRE LEE PATTERSON                                    Case No. 22-11464-pmm
                                                         Chapter 13
 Nationstar Mortgage LLC,
        Movant

 vs.

 DEIDRE LEE PATTERSON,
      Debtor




                             OBJECTION TO CONFIRMATION
                             OF DEBTOR’S CHAPTER 13 PLAN

       Nationstar Mortgage LLC ("Movant"), by and through its undersigned counsel, files this

Objection to Confirmation of Debtor’s Chapter 13 Plan (Doc 15), and states as follows:

       1.      The Debtor filed a voluntary petition pursuant to Chapter 13 of the Bankruptcy

Code on June 6, 2022.

       2.      Movant holds a security interest in the Debtor's real property located at 927 Vernon

St, Bethlehem, PA 18015 (the “Property”), by virtue of a Mortgage which is recorded as instrument

Number 2014024540 in Official Records of Northampton County, Pennsylvania. Said Mortgage

secures a Note in the amount of $92,102.00.

       3.      The Debtor filed a Chapter 13 Plan (the “Plan”) on June 20, 2022 (Doc 15).

       4.      The Plan states in Part 4(b) that Movant will receive distribution in the amount of

$86,000.00 from the Chapter 13 Trustee on its pre-petition arrears.

       5.      Although Movant has not yet filed its proof of claim, it is anticipated that the claim

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will show the pre-petition arrearage due Movant is $88,087.52. Therefore, the Plan is not in

compliance with the requirements of 11 U.S.C. §§ 1322(b)(3) and 1325(a)(5) and cannot be

confirmed.

       6.      Movant objects to any plan which proposes to pay it anything less than $88,087.52

as the pre-petition arrearage over the life of the plan.

       WHEREFORE, Movant respectfully requests the entry of an Order which denies

confirmation of the Plan unless such plan is amended to overcome the objections of Movant as

stated herein, and for such other and further relief as the Court may deem just and proper.

                                               /s/Andrew Spivack
                                               Andrew Spivack, PA Bar No. 84439
                                               Matt Fissel, PA Bar No. 314567
                                               Mario Hanyon, PA Bar No. 203993
                                               Ryan Starks, PA Bar No. 330002
                                               Jay Jones, PA Bar No. 86657
                                               Attorney for Creditor
                                               BROCK & SCOTT, PLLC
                                               8757 Red Oak Boulevard, Suite 150
                                               Charlotte, NC 28217
                                               Telephone: (844) 856-6646
                                               Facsimile: (704) 369-0760
                                               E-Mail: PABKR@brockandscott.com




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 IN RE:
 DEIDRE LEE PATTERSON                                  Case No. 22-11464-pmm
                                                       Chapter 13
 Nationstar Mortgage LLC,
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      Debtor




                               CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that a true and exact copy of the foregoing Objection
To Confirmation Of Debtor’s Chapter 13 Plan has been electronically served or mailed, postage
prepaid on this day to the following:

DEIDRE LEE PATTERSON
927 VERNON ST
BETHLEHEM, PA 18015-2922

Laputka Law Office
1344 W HAMILTON ST
ALLENTOWN, PA 18102

Scott F. Waterman, Bankruptcy Trustee
Chapter 13 Trustee
2901 St. Lawrence Ave, Suite 100
Reading, PA 19606
ECFMail@ReadingCh13.com

Office of United States Trustee, US Trustee
Robert N.C. Nix Federal Building
900 Market Street, Suite 320
Philadelphia, PA 19107



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August 4, 2022
                                          /s/Andrew Spivack
                                          Andrew Spivack, PA Bar No. 84439
                                          Matt Fissel, PA Bar No. 314567
                                          Mario Hanyon, PA Bar No. 203993
                                          Ryan Starks, PA Bar No. 330002
                                          Jay Jones, PA Bar No. 86657
                                          Attorney for Creditor
                                          BROCK & SCOTT, PLLC
                                          8757 Red Oak Boulevard, Suite 150
                                          Charlotte, NC 28217
                                          Telephone: (844) 856-6646
                                          Facsimile: (704) 369-0760
                                          E-Mail: PABKR@brockandscott.com




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